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7
     Attorneys for Defendant
8    MARK DOMINGO
9
10                            UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
12                                  WESTERN DIVISION
13
14   UNITED STATES OF AMERICA,                     Case No. 19-00313-SVW
15               Plaintiff,
                                                   EX PARTE APPLICATION TO FILE
16         v.                                      UNDER SEAL; MEMORANDUM OF
                                                   POINTS AND AUTHORITIES;
17   MARK DOMINGO,                                 DECLARATION OF COUNSEL
18               Defendant.
19
20         Defendant Mark Domingo, by and through his attorneys of record, Deputy
21   Federal Public Defenders David I. Wasserman and Angela C. C. Viramontes, hereby
22   applies ex parte to the Court for an order that the memorialized statements proffered
23   submitted per the Court’s July 13, 2020, Order be filed under seal.
24   //
25   //
26   //
27   //
28   //
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1          This ex parte application is based upon the attached memorandum of points and
2    authorities, the declaration of David. I. Wasserman, the files and records in this case,
3    and such further information as may be provided to the Courts regarding this
4    application.
5
6                                            Respectfully submitted,
7                                            CUAUHTEMOC ORTEGA
                                             Interim Federal Public Defender
8
9    DATED: June 17, 2020                By /s/ David I. Wasserman
10                                         DAVID I. WASSERMAN
                                           Deputy Federal Public Defender
11                                         Attorney for Mark Domingo

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1                  MEMORANDUM OF POINTS AND AUTHORITIES
2          A court has supervisory powers over its records and files to seal documents
3    under appropriate circumstances. See United States v. Mann, 829 F.2d 849, 853 (9th
4    Cir. 1987). Mr. Domingo requests that the Court seal the proffered documents because
5    the contents contains sensitive information as outlined in the protective order issued in
6    this case (Dkt. 32), as well as sensitive medical information regarding Mr. Domingo.
7    The Court has previously sealed documents in this case containing both of the
8    aforementioned categories of information.
9          Based on the foregoing, the defense respectfully requests that the proffered
10   documents be filed under seal.
11
12                                          Respectfully submitted,
13                                          CUAUHTEMOC ORTEGA
                                            Interim Federal Public Defender
14
15   DATED: June 17, 2020                By /s/ David I. Wasserman
16                                         DAVID I. WASSERMAN
                                           Deputy Federal Public Defender
17                                         Attorney for Mark Domingo

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1                       DECLARATION OF DAVID I. WASSERMAN
2          I, David I. Wasserman, hereby state and declare as follows:
3          1.     I am an attorney with the Office of the Federal Public Defender for the
4    Central District of California. I am licensed to practice law in the State of California
5    and I am admitted to practice in this Court.
6          2.     On July 13, 2020, this Court ordered Mr. Domingo to file with the Court
7    specific excerpts of statements it intends to offer at trial pursuant to Fed. R. Evid.
8    803(3) and 803(4). The specific documents filed as exhibits pursuant to the Court’s
9    Order contain sensitive information, as outlined in the protective order entered by this
10   Court on July 8, 2019 (Dkt. 32), as well as sensitive medical information related to Mr.
11   Domingo. The Court has previously sealed documents in this case containing both of
12   the aforementioned categories of information.
13         3.     I contacted Reema El-Amamy and David T. Ryan, the Assistant United
14   States Attorneys on this matter, regarding the government’s position on the instant
15   application. They informed me that the government has no objection to the proffered
16   documents being filed under seal.
17         I declare under penalty of perjury under the laws of the United States of America
18   that the foregoing is true and correct.
19
20   DATE: June 17, 2020                         /s/ David I. Wasserman
                                                 DAVID I. WASSERMAN
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